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                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 04:10:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iOU1IqSm/kfuvuviEoKQV26UpKDASSm8d5cvMwbIc/O1KFS2UWa05tqy0dvpigE6bdVS39CjPTRoR269Bg/VKD2YL0FNbZp1BD/EL3Uw7LqZweb2oQU32LlqL4Nm7w9KPyaaPcx3G0/PzbJHKYS7wHSkbLAdH0NL6oN6du+29C/3eYhQjPJgVpvrvbCCCtmz5L4U0QXSHjD
   +SjbWDfOeftgSNFKjRH9ZVTehjkOmJjo6jfNSPU66UNq7XnlW8AvrypspxblwvfcyR86jjTxKSmSl29GLpWWkUf7cUDu6E4wHUEpaV+ekcB3isquhLF84p2wImIDo//d9GhlSxywsAQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-04-10-16-GMT.mhtml

   Hash (SHA256)
   3898d0fb1b025b80e61ec36c1d3b7097321a02448c498ac2ab24e46107f6e290

   Signature (PKCS#1v1.5)
J1lspI3rUJwcFHY4BhHvZUDCPyC0l+qhUV+k8M4NO8Da8yZFCqAP/U8BiYs1minZ2AekB34zdbVRztrfY+yi2U0ozJxQcZFZafN1Lz4TjeZ+ncpaz1hCiJNH8FF1ocacHyYcs2JGZCy6WxYPzfsRHXPiuF4bD6XHHUUNKk/BKjQAhCXjbZqn3zQQRGBPMRPdMdmqLVB
+wBbGuttnwvM4bUKOz0AlFVSL7XjvaJaaFSAjrXW4RRNUvYGS8HVvwJc9SqEmrMXQiYtPsGoG7HsS8YOBtbWlaLyLLua2M2NQfnGUrhhZNT24bvVdWWMy87JU4cxvAoX48njLOsEveltRTQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Smiley face hat for Women Men, Cute Sun hat Cotton Funny Embroidered Travel Beach Cap Anti-UV. at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/dp/B0BRK9GN23

   Collection Date
   Tue, 30 May 2023 09:42:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CS43+oyQQ2Bul6WclBlEdytaXec+nHD6NEL9AWr3zjshAxcBQ0dDFkFEw5ScSmlFpLxip2nx55T2SeCuRHoyrzbQJvkP5LpzzjPfQRgXK+jMY5adPX+s1VQCL3fVsyglrxW0ARe6l9V0LkX8L10zRfVTYVA3M9PqG68Yds+YMU8pD+kFGrotC+JDzwcLTLD8vWPZM
   +s3+Ljxwd4QPbWsNTdUnZtkC8bQaZXcn3labMpy+eYC0LLr7IrI5IE5dEYHIyhFe09p2Yu/EQ0bBmpz9sBNeslH2MjAvdgWNUQkFQbHbkPAgcdlfBNlg1gn2IfAQZyDaCA02Ah1mrOHXyTLqQ==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BRK9GN23]]_Tue,-30-May-2023-09-42-37-GMT.mhtml

   Hash (SHA256)
   a6150e98caa1a5a16df14be1217870cb4f79e4eb4ee6b785a4741f1cfaa89dc0

   Signature (PKCS#1v1.5)
IEq20VcfT9oKdkljDrQaRid+efBTCYoKuRaQHvFpVapXaB1rsLUfuukiXxGHjZi0KMzMTrHYpgHMcKongR90CkPUgynIbggxZ4TAY/uYNSt/wg8AvBAYsD0ZRwTSDf/QMkaQrz7XACNL9zvqMh6wIstiimK75QmFI0JUPKV4vlJ3foQbdcFlkb7uYNG6dHIVlH5eeU5AIlLrFt6MSkGB
+ek8KdrHK67Av4cUp7bjxXGZznncqQMd/lkW8QppSdlKeMVOUA+oB6agptKRcmhZCL+93dZkQJVMu/JO5YhIM6WcCT1Rj2xnUWXVbDK+2XaeorYdWo9RUbPlalzKoEiA3A==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Fishjhan Corduroy Aesthetic Makeup Bag for Women Sherpa Smiley Face Cute Cosmetic Bag Makeup Togo Bag Travel Makeup Pouch (Gray) : Beauty & Personal Care

   URL
   https://www.amazon.com/Fishjhan-Corduroy-Aesthetic-Bag-Cosmetic/dp/B0BVRLWBMZ/ref=sr_1_211

   Collection Date
   Fri, 21 Apr 2023 07:54:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g/yQsIit7G6vH25jDCEEvbznPDgiSb/y3Or6hhUaRS9W9oMIvFJXkEEVuqZCF8e3RERWE4elECbvshxr9PFzhdV0ILIMKRk3uezGQt6hk2P4itf/RH4WKNsmW0Le/vbKaI0+7/xPuhllYiWYuDswaNs/LauIWuSUZ1BcBC/rvw8=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Fishjhan-Corduroy-Aesthetic-Bag-Cosmetic[fs]dp[fs]B0BVRLWBMZ[fs]ref=sr_1_211]]_Fri,-21-Apr-2023-07-54-37-GMT.pdf

   Hash (SHA256)
   17136e834a281861497392b896b72d4ffe914cac99095ede0556ea1fc0394601

   Signature (PKCS#1v1.5)
r68Jq0U9IqCvwuQRumh8ln5IivqpduD3eO+65IA7eChPZeknN4vQ/B5gU5rraMAdwBcfgAi4xMfcv4li8RFQiPhyMn+FCXjoF5xUyBTF+QEJkx/HTeGehL8A3tpusOabxdsKyTNwGPCXjNJmso7FUQPsv/YzT5Ua9VbEPCVBoLo=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 09:23:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   daX/AhGkuu7+XrEL/j1K7rngCknj3qmXnbc3dAGTYaFGyo+QXruH4hy9Dd6i+jH+ZXE/mjEMK6O79Mq6f6Y0QwxTH3CIwDQQF5yu4vGz2Tf+GGub7pNy9adHekrcWMhCLisJ2CSJrPdwyPyO1ysHstTZvFBrKnYdEIZPF3z/
   Bm6JacyLPoRXGQejI9BOzS3Xp0iE4l9Mp2yfa6PY7xXE5ENA4Put5FZAZYhCTD1HvEe9NDGsAZVpAtdKTFc4HBMbw/ZarBpWaCPYUjIHu9DAMuubV32YIEhjm72fjRaaHT35908yvGrgPL8URBa008GyKuCJobFOaTWDuiiL1+OgRA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-09-23-10-GMT.mhtml

   Hash (SHA256)
   e75c00297079205974882405efdd89486891be501f0d7658146cde955a528c9b

   Signature (PKCS#1v1.5)
N0IaD3IK3z7MRa5a7P+0xrb9xwCQ84dhyXyWu6FSe1fnSKjnX1BUhqztYoRBEQlQIb0lgx5thNwCQSLNcN25ICsZmXKl0deoERoTrXx0wvuNDsxelmtiQwnmEYZ0qIAUY46YRGTyO5GwzK/
dQJc92GdXA3PqTorDzFYZtrCvRxKCSZQyRPQeTO9smqg7VFHufuaBui4Rz03CMH76h2WuDX5bYjl0mlPmQwVV6pBTotHLBRQ9R3LhAFmSXiEHv6JufPHUXEqAGlkQJ0b2TPTc4PKm83KypPz9Wdooa/su4PpBR+gO9Y9/feVF+NOjD+tbpebtJAGanoDDYE5sNdR4yQ==
                                                                                  Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Makeup Bag Self Love Inspirational Gifts for Women Motivational Encouragement Gifts Hippie Boho Rainbow Smiley Face Retro Flower Heart Positive Quotes Toiletry Bag Zipper Pouch for Girls Birthday : Beauty & Personal Care

   URL
   https://www.amazon.com/Inspirational-Motivational-Encouragement-Positive-Toiletry/dp/B0BDLHQW49/ref=sr_1_225

   Collection Date
   Fri, 21 Apr 2023 05:00:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JQEodVsJimuZG09vaIUTiPR8uXVSyBBH200siOwuD3SX8RC/gNko90F5b3EiaP9CIdkd/hI6cVJYUkqP/hkpOiKbrk4N5zIbIwT99zKYeiONvqlw/nBj4A9uNAczVntgf7EKMawZoJxIgkEIVHeify06SCPWHwb/q94QHBj049A=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Inspirational-Motivational-Encouragement-Positive-Toiletry[fs]dp[fs]B0BDLHQW49[fs]ref=sr_1_225]]_Fri,-21-Apr-2023-05-00-16-GMT.pdf

   Hash (SHA256)
   9b9b072a9ac02b8af2e209b5d4da69149c4fce2e14717333a43005efaca48f82

   Signature (PKCS#1v1.5)
m04wyNOG4SmDLWrYCGWmngrPXI/ZfBwrpZM+Y0e/msdpJSCt+0dG99h28YMgd8f8mTLK9nmGyZjpi0gmQN99bmuFPBkuhwT8P4rALpEUrwkAhOblTuLxLmmFoT5a8RH5gYkBLjXKDVeQkYyrBQqM3SAc9NXBg7k9tmi4OFtXUX4=
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 07:16:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FMZa2hmVcmoUM4wCnNg9lPUzf3V2aroTZhOcOzMfSk35COQFg87KvipK0lLZe+vsxubYKkts/9l6ry+jS4iItol3lnUekQ6Qw59qKQu+3EoOBN9Le00jyfd3ljTeTXY342uHsf13JVz83Y43EBcLPf/HaSpxSB4LlU8SkSXXl0VelnWqkpUnHoXSCNhRW/3tPGY+KQDfrkNt
   +2rXucRYLHIJtB1UHJwskzi/Xnqib9wBkIKjp+qQTVZDwy8T/sl7H/DI8k1K9qQubMoN/E0bKOQVKQwOk06FPlgV1sTTyxhMw9UQEQ+3zVzg55dSMO1C0t3HI9sGadRW6g5yP+vNBw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-07-16-10-GMT.mhtml

   Hash (SHA256)
   57680f48da7e9f32aa103f11b28473f80dda4d8a8180ac34cae9a74038aec7a1

   Signature (PKCS#1v1.5)
ch0DIvXDBWEyYTeaoz3xSiO35NvBrzuD3UiI/aFm8gjuLQdpZgDCZtBqv8pQtrSGGor+aZvHPdq6hQzGf1QEYqI7Gl3/RP1BdzDgMwigMkRr2qwioEcr4OG6Vu3tjTNtxCeu+TNBbaI0eq7OZ0NCPowkSc8hjezT6VxrpTeMoCe/C1WkRZ0a+khNgd7p1lkuK16cnInntoZ/Tfp3NWt28Q4mYNV5Z/
NGWZTlPscIhwhCz/V1RkMNBQMXyIhHCsigRSLzSalrtj6msPUpAIjmo9ypAukFA2upcHANowIPzw82AGm1/9vo9CTxOJwf7xOczb+pn2wYRT5FTT0dRhv4YA==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Made by Nami Design Choker Necklace with Freshwater Pearls - Summer Trend Necklace Women & Men - Smiley Face Necklace with Beads - Beach Festival Jewelry (Smiley Face): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Made-Nami-Design-Necklace-Freshwater/dp/B09ZHY8JYH/ref=sr_1_82

   Collection Date
   Mon, 24 Apr 2023 05:13:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RWF7T6o3fSaSCv7WcmYeeugYuUhtfYEeLSPj9hqzsQ9//QqykfCK3tPCT+yrWxjdT2O3ZG58QJg56FOHYdnIwQBR0zYHbktZYiKmC4nyNyq/tISH+wKij7F8xbD0Y61Ql2JvVeF0jfxw/48+ThuSU0egbq7lIvFqaxT8bn3d4mc=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Made-Nami-Design-Necklace-Freshwater[fs]dp[fs]B09ZHY8JYH[fs]ref=sr_1_82]]_Mon,-24-Apr-2023-05-13-37-GMT.pdf

   Hash (SHA256)
   48a6906907ad94c73c00b2102b5e379fd4e7454f7cca2350b841c4f792a11be0

   Signature (PKCS#1v1.5)
awLUqwII1JEYqlFQeG5TH1VhXQg/f1h0uqQgqTh02fT4Ge1Tmi7Hp/sxvc8s8X4TiXvhbZ35TsOSjUPEz1GXKxwKVbLGg4pqkZrBmaeLlPlcsHfe42qn/o9YeYSzlQGgvvsB3CgITlcc+oDxXUntgj7vy+uj3Ocw6spSck9bJns=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 14:16:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eT4vzekVEM6VRTHunCMX/LMJe0VBm3Y1CKt0S8VSTUChM3HVZ92cEmNS1w5yAmnhlfZSn3iJeO3sMlcVbBv7w7kea59NL70xbVO7/SyamKG1VLrDWfilHWjr/BWCiq8zr8uCIkSyNShYfyd0xtzyLr3AszJScZmcyj8lMcltVqV
   +DancVkWcus7azQcE3t2lnOMM1F2HEwQYk6T7VI5ikswju8v797/yCp3YQl6BbA8p7bIayRpubdC+GuAfmH8WHoDlPhrJuOuJVIDrsKFykaGtXRuVCKPTvfFRGT1BJkgvwKyJtZQKmPJmkOAGj46wFIJzvelyiHrVaGMe7W1wpA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-14-16-44-GMT.mhtml

   Hash (SHA256)
   88339b6201f678ee862ab0241a3b450332a93b9862d7c79b507c3930d0d37e4a

   Signature (PKCS#1v1.5)
C1tN+9tzAkiqmio/u+Ih1tPOjPBljhyd0+Ks+1e9GLnETYoE7VKuX69/UniyzLJgx86y6PIofEuhhAB/itVtX94SaWoP+ZWsShOU6bqIS+DkMljJydzMKAETh6x//bQQp7ZuG4gNoQt5Gc934+HvoOy+KC9WEXOm8vL5Od6jCZHcJG/S0nkUvNgH3ROAt/q4DyIKXkSCF5+Ed+jjhEBVRK3ejnx
+e3n3+03AkEIQY5yv2boCT3FV67FiKN+pfVv7Rprjr6GtC1pp2fQJpzfDbkwz1H3rOxVZx5Gb/68fSKWNTWTdew3AGSa5Q0ugZlVtmLBePFq2XVO9NgFLTIISlA==
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com : Id Badge Holder with Lanyard Cute Smiley Face Lion Head Waterproof Badge Card Holder Vertical Slide Cover Name Tags for Teacher Nurse Doctor School Office Work Metro and Access Card : Office Products

   URL
   https://www.amazon.com/Holder-Lanyard-Waterproof-Vertical-Teacher/dp/B0B7X7JFV9/ref=sr_1_177

   Collection Date
   Wed, 26 Apr 2023 09:21:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o4t8nFqSs44EgUxffzN+BLBM/u3HtAFuSw37Gn/e1AV0ILIG760A48iglf+g5YG1ZkKUr9WwKrwzVvJwgyGVbiw3toKdkngEELS/FId4rLXvMQlC/fitq+wvzarddB9EZTNfvCTyQLyJcsCEFpxyC8Fs1yx7Ys551a7Na84pQyg=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Holder-Lanyard-Waterproof-Vertical-Teacher[fs]dp[fs]B0B7X7JFV9[fs]ref=sr_1_177]]_Wed,-26-Apr-2023-09-21-49-GMT.pdf

   Hash (SHA256)
   60d02ef02f0c3725597d912e5b67143e4f4b2ef25f0419af7e671a178eb5cfbd

   Signature (PKCS#1v1.5)
MZqAWIDWqP4c88FxbhpXNuuenbUuhcT11sVoxN+aKECb9SU5lW9MZAckFpB/ytsWQBdNQ5wuCfkryCZw7g038HkJU+GIzXuR7RD3Nq0JyfhZk1OvGcNxGMTOR9+3gniG7lOwjR+yQzWeQopFP5HpHVTJ4Yl/B852iiOANAbHnn8=
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 03 Jun 2023 00:23:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.78

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VDdRJ/hSSQ6q6bpzxHjCRm3RveqF2bP7ByuhnpzOu59PayzhjiNIfHFn0zBEn3oRZuVLpqYFs2BlcdjxViPm4Qlw/24W2WM+KWr90AcSym9W+TiUMDm3TeAjBOPoEAE4heHv/0nR84pXckZSp71DQSaLSmq9WnSy1eYnywg9ZFrgedzGANF+0cFec6EHe9DoXNXRhVVRV4kpPwJuG2gdq
   +aSjgHoLpXIfeWgPNknZ2zY52O8bXi0Ji4B9/sg54jUqizIbOp5io7kCECgxhR2Ze5WME7BH1kFmrnDIPZsaWck4GsWkiDcOP/DHKTXcDh4FTbF9RSLcy7xzhUi3yee5Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-03-Jun-2023-00-23-13-GMT.mhtml

   Hash (SHA256)
   69b0ddedf402f31a4d17532e67648fc5a7c4bcd6588c35f2d599481b836a61bf

   Signature (PKCS#1v1.5)
krMl8SP88Ehyg7vjMTjmiHIWhpS80TkNulHyRezQJkeqoNsRll+Fc3Qc4Dt07WluW5hjcHUuPk9DxapIPhKEA9A09rLtXY7n+RLBDQai1iAjT+glEeWQ7sgyauE1eGlb4VcFKQ9sad4eYMzKOb1kwob11k7IR85Sl6AkvYYgOMm3PJd40k/O2dWWaslxr3mUmSS10S5/
tltzE7Slq5dnNNyPw8SzEpE6FifQam+o3qjYDw5XyLf4Aw9jGEUpyve3pnSYERav5S3mEuTKSoXcFduADAGwZVWMxSG4Igbj14IXd9b0CnM5XJBgkEgm37bFQFTR/czQ250Hd3cx8BblTw==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MKCVLKYON Cute Flower Case for iPhone 12/12 Pro Girls Women Smiley Floral Design Soft TPU Hard Back Shockproof Anti-Scratch Protective Cover Case for iPhone 12/12 Pro Blue : Cell Phones & Accessories

   URL
   https://www.amazon.com/MKCVLKYON-Flower-Shockproof-Anti-Scratch-Protective/dp/B0BXWQGFB2/ref=sr_1_113

   Collection Date
   Mon, 24 Apr 2023 09:32:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Es1e93d+V3VVFII6U7MJEyxzSntaqrcSDezKMLMERT/QrVVtM8z67Y0Rwbm5qfj9HQAgDCXhrPH2grQ67IwEq4NLHGRwHRE+1bB+KepXJaU/yRUwHobz6d7mtwodNKuDzCBhmvBSisRvCsqyHHPeGs2kYFR3DZJyqoawlO87uBk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MKCVLKYON-Flower-Shockproof-Anti-Scratch-Protective[fs]dp[fs]B0BXWQGFB2[fs]ref=sr_1_113]]_Mon,-24-Apr-2023-09-32-31-GMT.pdf

   Hash (SHA256)
   82f3df64ced8774b726ebfa018fd08042281b4443345c64ba76abe51957ecf8d

   Signature (PKCS#1v1.5)
Wi0oiSK4FWDtterP+Ol15lHWQ+PskeV0/hFqfP8zNVCFRev1L3QvIMJHkvOO/+xTd7sYBT6JXbPX/VwLhbRJYHe8Ph/SZDKwBkaF039qcRurydaxR6ZfZ9HCYyKuIwlDZ+/Faiei2AeIxfUSRbwMU3XyDoYJXSzKM4I/HR8i2uQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 04:42:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HNIhTqvUtFUzFwNOB/Zdw1qqkjAgmpVSE4Lfh6VW369Gbq1ip4Z3biqk820JVJtNq0EvXkVG2qy8M1VTSFI8ZitZbN6L8pfxeVCCmd79Cgnx91bPArvAm8hX6D1dehJYu+HlTS1ctpdE2OCjO8OQaFrezKhna186QXTuWBTLPo39Euw30mjYWXEDACDiGGJG5hSAP0n/B3ZPmM2j+O9z7W3v/
   H9XFRFnQFOElbkNIN7qIBOhdAftpwPRQ+lCerAfOPeoiLUSNTaoN0kz83h9qAdx9q7p+D29vbv/Rch0NLuL4oRPJINPwWsRZFSiAZ+Dg3sVCCM78XDg+HOun3EtJA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-04-42-04-GMT.mhtml

   Hash (SHA256)
   5813ab1cc75a5b502082d70989092f66431a5f3fd704a0d18b1ae59f013cddb7

   Signature (PKCS#1v1.5)
TBTy17NtAi8E6UJe1WpFm3aLgI+aopVamhvNo6EkpnDbu6+ZHXRRqWuD+11TYlL+PFc8YhygfzDpcaF4sO5DN8qSQQoqX1f4dHlFr/+cmh0psAmCkL++1o71PTQ9sZ0umyMx4d3UEtdkONmLMriqrhLk5uk4/Z0YDSt/Wj91qFoImqh9n7lppnkBw6bEEBz21YG0gS0Gx6ZrPZjQQKP5vr
+6W9neBet7tgnoyYauArMQH+gi/l1O+NO+/BQK3ccvuL/ESm8d4ZUcJmrLaykEMW5F/77B+myNl7+9+IRfzf3cLcNnkN55DbHXzkiX01sMwFxSks6MbCJ6r5Xm/OQFnw==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: HTAWI Smiley Face Cute Ruffle Cotton Women Socks Fashion Embroidety Simple Short Socks for Ladies Funny Woman Socks (Color : Purple, Size : One Size) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/HTAWI-Smiley-Ruffle-Fashion-Embroidety/dp/B0BW63NX8Y/ref=sr_1_91

   Collection Date
   Fri, 21 Apr 2023 10:04:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VLWtsDsJah5oBW9+1KvTvUqslfCcw3XSVPHN3fXn+EcPaK1VTuV7cEKAjTcP2IKQwqHHahaeD99Tjeq31VJZIs/Xd48JVXwheSAGd650Es/12gJZR2QS6OcsJVEp2+2RWYGbhlyhuNsXKBwP+7hz1dVD8+IOtD4XyxyqAueyRic=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HTAWI-Smiley-Ruffle-Fashion-Embroidety[fs]dp[fs]B0BW63NX8Y[fs]ref=sr_1_91]]_Fri,-21-Apr-2023-10-04-39-GMT.pdf

   Hash (SHA256)
   01ebab8015332ce431cae5f8c0710a49773e5ab3a16a294a8c0ae0f11973c521

   Signature (PKCS#1v1.5)
QcN6SekUbErN3xgUogTJLs5fL4taMruW5cPu8m8xNoZRVkZSAdkYlQr3ISgcQp3CIz1XkpSgUWC4/DL+C0i0yjHARjPXj4xJP6SDHpOE2sIEwiudRJnWSWcobU1cWqCgImo1i7UdDOObb/sZQxvkTTx+SfLzJjKktkKAkOdhZGo=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 06:43:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ds2s8FI+b2MPvMIPHusBdYz5Lq68dzJ0oh5E0k+6fionXupzdMSCEKjPuvwuD0ZxAs+akw9ZYKx1Axk+HG+aS234/K5SWDxGowTyWHB5QaeL
   +CJ5JCcdpcbE40uLWCj4KCuz9Of9B6erK5+RUtLxQ6WXyrvFv2EiCXAgKDjpLTdEP5wPF27muVmGrnr5APLoIuI8VObgvC7KfwjZXz5cR/1VECRko/VbjseXGC3+Td+r2ajD2LzbHyP5Hlot7oyxSiirtg0eX/PG1TJN0+wwccr4PfbA9oEtLtptGWTBCrC6zTtFdL8u7jCAn0fgFhXudaqIFVNICudAcckF
   +LtsYQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-06-43-15-GMT.mhtml

   Hash (SHA256)
   bc546ea5dc1db36cb6810776edf328ad18c4fce25202be6c7582ec0bc04f42f0

   Signature (PKCS#1v1.5)
jqWdZNkIAVp2a0am+n9NOnD3dDgprNih7KFbGjvUoUKYcm8GLvob3T6yU8DEVdmhbEEhdBkHl+fzUy6XjdUZUpt8lmF9JxxHOQayQ/HqinfBx/bTr64AAIafYf1pEG+QunSQCowT/Q1f9aOJnI5qbL2gw3OlP5/
jIDB41RSe0VdiT2tXwSIFAgftnn7TLHgPCaUm4+tWa0p6w6aDwBOcoRkcE17jKUVDLkopLJ7XrALNVZ+l0EoS4x3Ro8SiDjJ5ycKGzPnfHlTz/L0ViYKtJ0L2KqzgposD1UN+JpyADdtqs5cevcJ0OBetP1lQimCIf0wmHea71KjOGhqcnpoPog==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: FRA GRA Vintage Sunflower Necklace For Women Zircon Smiley Choker Pendant Necklace Jewelry Collier Femme - Red-brown : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Vintage-Sunflower-Necklace-Pendant-Jewelry/dp/B0C2P7K9SC/ref=sr_1_6

   Collection Date
   Thu, 20 Apr 2023 06:06:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e5hzdrdp61SL8Tgp+Gl7ksyM8xkTquM2RvmWpgicf+s4N3vqo5Y4s6rWucqpVWZesSLrN6ymzXIEGbO18eY2qpfPKA9ooCv8ZGjgrM0Gg9qPXQ962ugRW3JLNEmnXzNm3Fc8mioZnQ+jh69Wnhd55yBT9nF6ZoK0Mtp3XdamMUc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Vintage-Sunflower-Necklace-Pendant-Jewelry[fs]dp[fs]B0C2P7K9SC[fs]ref=sr_1_6]]_Thu,-20-Apr-2023-06-06-48-GMT.pdf

   Hash (SHA256)
   e5755e3343dcbe07db1d47e96a45a40c46f5fef18e70aaecd5e2b89884712f3d

   Signature (PKCS#1v1.5)
rmsGqSKZB9ht5MeFtLaNWCLTXrScrStdjYmtLYkZYXJgkmsepZDNRV4gAqAPrCdwroKCDvAr4tBLBzINfgGCQe5Lq7rSb16eKTid+exSHw2do4NVgbFb8usLYE46oHfeYokTLIud1RDKmqo8NNrSaKZPSULt3cEFAars6aysky4=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 05:55:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d+Cc28KAMOL38xydGFTHfdutXpz0+0TEuMb6vqsF+Ep3Em97uxycP3FWqcRKpYqG6QTnhhMCPUOeF80cJ6WvQI9mmUqirrYWkJRwTDOrjzyRXj4ugX6lIEijBdEqhmHoa5AueiYJfg8T0L+ohLcPj55eO5yeLK9YzPDJvIyU3AE6/XJKl4HfsM3GXtd
   +rdXQoGWbMyRR0C3CNxpHoDiUSHtqPLooW2G1Aoski2bWuKFANvWrf0o8PEpioHvSLfcsDRZUvU66rtlWdRLKQTwjdzprE00cMgo4Ov6UHd23xh1tUHKmC+501zkZCWp3qvttnAqUDgLmQYAUpilnqSLHAA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-05-55-23-GMT.mhtml

   Hash (SHA256)
   c38e61c6e48137a98bfd92dd6ee656af0283e83a2e612c0e758ed652753a4c35

   Signature (PKCS#1v1.5)
KOFUHAVXTUZVoMhuiP09Z4f+bKbjcVTbmwHoGmEblVHbqPSdILw93iomax4ozFXSE4BzFL1w4fu0qE7ghWXe0BMbKPQnAARFYx1LTa7EaDc3j5uQx+omkPJK15zG11si+7Y3BxeThoe9D36/WHs+8mLqT7b7hWnsE1CShkm/4st3TsgKckDbJnWfrMtvEuS5NYeeKN4LKORqp72WXSM39Y/
+a0lOWVYEQzWc7WhtLpej/Z2Ypb/ze0ReDxb3/V7/duaJm8pY78iyEI1eY5HhsqM5eM6Us9DUL+hq9+vcYLv1qQl0z4Y8ZtVE/oTbSDmCKC7xq7Xk15L6SUQcZN9dWQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | SMAHPEL Women Men Bolt Lightning Smiley Face Slippers Evil Eyes Slippers Fuzzy Memory Foam Plush Winter Slides | Shoes

   URL
   https://www.amazon.com/SMAHPEL-Lightning-Smiley-Slippers-Memory/dp/B0BFF67T9V/ref=sr_1_112

   Collection Date
   Wed, 26 Apr 2023 05:03:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CBb/Uu5RnNUiJmNk7jmsTkJ+nOBt6dgB5eB+REgZZZp9KFvRf8TXVdWqh2qzJS1vbTTJ5ssFobemMJybwOGtHdkF0noxRoN4xsVLVKtXnQ7Nx2NaGM2nUQcRIufKIIs/FHo2+NEddrdJbZhZjy5bc6B+7E1A+Yeu6sVnqYrhwJk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]SMAHPEL-Lightning-Smiley-Slippers-Memory[fs]dp[fs]B0BFF67T9V[fs]ref=sr_1_112]]_Wed,-26-Apr-2023-05-03-11-GMT.pdf

   Hash (SHA256)
   5a6e084bc65d74a7d4110a4f43631487d875ab3e6ca61705e3e0918ce7f0ce66

   Signature (PKCS#1v1.5)
nSCG0ifYzs9e8grEKt51/J/65UN+9Rs9HRSAJt31Q6D7rIHdDyunPCjF5IplY2miN++wT4YdzEokXVNoiCWWHR327Ombjiy+ehPSjG+Byhdy7Jp/1Sx/WWKz3xBV2zbG88vsXZRfc9+fKGdeaIvupBEzX0lPwF/wq4EZcTSKAWA=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 12:41:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ik7jCmyXrBfDJLa+QlaHKgXmaCwjzjyiJ4lKdfXqbk05/KODIkV7t0jCfb80m9vCFgXswb1rXm2X/1eTi4VKJlaaE+2I4Eqq9CfxUsXh9M8XL6XeYicOE3ct/lZ72DWh2YXHqRIydP09y25A01junIM0yw86e5FIac+dRoz8Tew
   +e4kosLGcy3YR2lp1dfo1FBvRaP42Es3Gc9SJL924BCjXTiPKPdGoNuzR9xOwhOkH/ceD8yuhlMzTthmbjlJiiTRyCPEk4m+GlXSHF/tZfauhjYB0IKH9qxKlwrIvcA0QuvuHKwNRyZN2zykEuv1gYXsvyF56YfR49KXfhbyu1A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-12-41-16-GMT.mhtml

   Hash (SHA256)
   b6e6d2ff0bb01dfae3d06e6ac0124904d2f606056847398630fe395dd4ce6d95

   Signature (PKCS#1v1.5)
fbrE+/Jm8ZN5Dqzui2hN6gOvvt/phKLsghwYXtwQo+4DqTKOsE3zEq6ebifKuKXJmK1o+R9jo7REyObuyYLBA15zXez8dxA/fLk3sg7m1LcwcyfdllwsZwXhyp7hcc7ajoYFF2bH4f26AibuqlekTIILTVEWgR4e8Ihv9lPywSrMpwN2Cf2OqrY4FAYGHxmvHQ5RIQnhJuDXn
+Cvc6bZeqlTrTfdp7oFMg2sk/2XwSIhRDBW0PKWT6kBm9D5MxYcy48E3/mz5uvupzWaK0kSqRKu6usDb83GBBfpc9uEEKWDE9LqV9kM5IQEpM7tifq2DKEF+vyh9/IPNH5/0bu/1w==
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Smiley Face Purse Cute Wallet Change Purse Cute Coin Purse for Girls Preppy Stuff Kawaii Coin Purse at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Smiley-Wallet-Change-Preppy-Kawaii/dp/B0BVWPC8G1/ref=sr_1_130

   Collection Date
   Wed, 26 Apr 2023 09:52:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   plCGGzi4muZFR077V/w4LNhaGX2uUeGjygeBmu52O5eFfMlifRV8fIYoJK9xgCEACHzW7yznBXnG2WUstvAkYCbqYlGU09bextRBOEVxKVAc2loADfyYveWIfkf2u26NS0W3mKC+I+vfu9fcCdY7ndj69HIBEmQIUtP7qCQMBOA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Wallet-Change-Preppy-Kawaii[fs]dp[fs]B0BVWPC8G1[fs]ref=sr_1_130]]_Wed,-26-Apr-2023-09-52-46-GMT.pdf

   Hash (SHA256)
   a835d3a63394c61afd073dd98ad7a40553071fbc761778f1e932dd56ab518850

   Signature (PKCS#1v1.5)
azxN46kXYBhT2wGZ2+Rfyt7KwDHbm0eFUT0h+NSLMQwDX6GIicNw0FuQGQE32yLjP3E4qu3ygXB8uqydk9LVmyuMZos8MoBtsNqZh88vxF3JuU11HJR6O4YhOq2Wf4zjEld/V5JvwOobg4QT56Vv+eZe9Vou+Mdj64ZZlCPSThc=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 01:02:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ljtW5C63W1HN7WlHVtfhZN8gTCFdZ8Zibaaa3K+sqc8Cr6IHE61KJQqDxOfa9Fz7j/jgpM/sM3eOOF0+B/U3UhUd+3Koqn88IMbtJHrTWVNhm/1PbTtCiGqpGptmdRgcJfGVo9NxS5bNWTbTa3SOKOZ7yBUus39EoB8d3YzAw04voilEBoDmLyqVhpbpqSyljM7/qEq+GpbTI
   +n6RrUixOus16o00qlnqN0doCGn8WDn0bW1o+f3PcxwNqb6VSt8q07LVsSvN2mJ3hvADZ3fc97TTFw6EC4XezPG3tSS6GlGAhRXJj3fYRDSlD3kMFFAx6tgItYQPJQOAxt99WZdZw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-01-02-28-GMT.mhtml

   Hash (SHA256)
   ec933ba6d3ac7b6660a8f209fbf6226e6f0260e57bdd7a78e55ae35442618b51

   Signature (PKCS#1v1.5)
HFYuKcdSd0onEfMDdgVy4cZjtZ0wJ2yr8vNE9zOkxQGuGZx6OBY4FH68EMHUjTe9Vcqkk7oFMxkJFrEdUAWhUJVp7n+fLBa4XFCPm0AMRIUWgMRF6GH+MSRX6qrla62PLdTRvVq4r4wNMf4GGbNVNAsylJUKP0uiHtYRTTpPN4bbpToW
+ZuolEZXwZiyVumM1Ef3Icqj0+yMk4IJwy1N8BCH4UZ9/4+zJ/6Gh4/qrtEURqJ9T34FNS7h/uQkeXnmx5x0vqjfm4MNGXtNlXFnIxkqrMz21GoLGlz7hM2Tuhoyt+G5KbwgothUZCvPylBExjy3aeEcxHHiAHsSSTG32Q==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | smiley Face Slippers With Exquisite packaging bag Keep warm Couples Slides Home Slippers Gift | Slippers

   URL
   https://www.amazon.com/Slippers-Exquisite-packaging-Couples-6-5-7-5/dp/B09P1DCGXF/ref=sr_1_146

   Collection Date
   Thu, 20 Apr 2023 11:42:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qyXvR/BMd4yvONQ2kGyOVZLLbFS2X1tDfmYW7ahWXAqR0UJC3g0Bpltu1lsqYE1jbEyS4TxuvvixznF89zyjcV03gdPVLyWtZ/IwHJp5diRhmsjX1HqtlN4bahwTY/SVUaLYTFerwM9umJQ8U/Q2u+T/HFUaA+iB2kGbmsVo4OU=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Slippers-Exquisite-packaging-Couples-6-5-7-5[fs]dp[fs]B09P1DCGXF[fs]ref=sr_1_146]]_Thu,-20-Apr-2023-11-42-19-GMT.pdf

   Hash (SHA256)
   b2d4cbab57650bc69a2d40ec99c5a8314f001ae951762ec3f1aca7287745314c

   Signature (PKCS#1v1.5)
TZVpoPrP7GMSfFUsoEM7pc7yKaGqau54EusaM36X8XlhC4n2QlI4AbQWa4naToreaNB5BaUPzDi1Vxwwc2GKR/NU9eAKaacmj+muMjGNp4mUbSGVzflZ5UVa6tTgAYI2aEoaaBCJDpsZ2XgLYWVaTgeoxA4mxwCmWlsjNSGA9gQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 00:05:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MMpA5BmAHi6BJzwx4RjCYRLIg5k/btinQ6YYcz3fw2+aFBb5ETpuWaNprTmXOA1yqb31y7MMfiDEmNJEK7kVF4Ws93xSMrgh92TYKLue9vgvVwVNNgqMV3M7TsOc+dNk5A3JQuxuqGZgb2/vb6og/ne96lH
   +K65+L6kROBmqQe61+oo15NP3qc8i7sA6ZPpDdn4xOVHBINsDOJ9IucHfDOgLKN49NQdROgs3//0L1ajBWbRY3Qmbhv+TBiEG95p0CHLxWYSUV/gzQMX4BZ7K2L1YlHzZhWknEw4SHMyoZQ4HJ+Wgb+SpYJBdsUHusKGRrx99XQI428I4FF2eHxGNDQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-00-05-55-GMT.mhtml

   Hash (SHA256)
   a6026c1ef9f5a1f91601c57a6020dec4fbf19830f15321baabf3eb0fbe138083

   Signature (PKCS#1v1.5)
RnoAjwcjI4wBiS4I0rYEepRXwBjcFQ1InQwHYpVnnf6tR4ZQLhAiKwTD5QgaI3V1UaZ5aReTVqNwdnzpyQtstJaZ5PADnlQkmFflx8XHkc+Xee2VMJDsj7Vn09eG9Z6uxPYV1Z5+PofCZHlu3VaXLUkjloGVM6ptMfUToH8HqtOf9nk0rDXYUaec9lEagyxY2l+
+GpKnYkWEWVm3mPiGjb0cFXhySzZDmL48ezEsZXtoXwecrW4cD+y5Ib3CyY2QqXEarC7MvMQPH6P7eKtOIiwRq+z1w07X6YV6mwDlg2IomBZcmzU3Po+JXld7MTUFP1gX6jaClyD1pn2sn4g7ww==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: FEIZHIRUNAI Compatible with Motorola Edge Plus 2022 Case, Smiley Face Cute Hippie Aesthetic Peachy Smiley Face Design Shockproof Soft TPU Slim Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/FEIZHIRUNAI-Compatible-Motorola-Aesthetic-Shockproof/dp/B0BRQ6WGX4/ref=sr_1_12_sspa

   Collection Date
   Mon, 24 Apr 2023 08:15:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NcjJTut8sasCnNZgwo/j3AP86Px+D2HC8nNj2A8fhzT6H5YCnVKfKiBXV0prI7R624smQFaRMJRfGhJFGjC0iNjEtB4o0VGZeE+6iU9ad4G0bgM358jIRcD79wHK58KxAF+BxTS1Bpm8D/pVlskEMR5pmy47exX29R1SbIsIHAc=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FEIZHIRUNAI-Compatible-Motorola-Aesthetic-Shockproof[fs]dp[fs]B0BRQ6WGX4[fs]ref=sr_1_12_sspa]]_Mon,-24-Apr-2023-08-15-19-GMT.pdf

   Hash (SHA256)
   2bfa29d8b2d609674fc8d152eb31b7cb733db80677a4ca73ec822c2a5a1d7e50

   Signature (PKCS#1v1.5)
o4bj0qGlLgiAYfSkyDoVbRYQEleJOEvHPr/VNllkS0O6Ty7dowIYdmfwwKOA9TQVGNMqie7JgNIHPbxVW7XlnrT+1yPMSwO6bbI8tqyysG06X9E8Kln89mrnfFyZMV9cuhNEKoD3GK+mDyOXRO7pYHRvzjdRhSOphKbxfioUJX0=
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 17:13:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aPD4ZShVeL5jl3SY6QdXrCTzKCuspCOV9RzrlPiKeybkkIzRjtP3v8hTRnuTQueJHoVDime9/AJMOzZdhALhpCHvciJDkVhiLvFeYdwTv9y2xQkSk8ihAQuvs8ISbOAQ6IoRnV6339La/oI3ZvjeoVZlks23ucz5pZZV/gf6SNyW/k7h0EHSZUQ+AwvtkseWgv5Pcst0Fvm6GodB1nxTwlkoCe4YLau
   +sEM9/OVeK5BWswpGx8wc4HepU5KHT+N+wsI76P3nQQJcg7uwpUNkDdpNlrTO9qtS1FkC3zyRYUt8xbweAOrZnrXeLAdpfyZTuaLaF64yzzBN1n8vta/zsQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-17-13-59-GMT.mhtml

   Hash (SHA256)
   c63e9b9b890501535cbb411d0bf154cc8e3ffeabf8a0fb0cf73d61de57a60fc1

   Signature (PKCS#1v1.5)
Uayn7xqXz7L0inFPkEdoDFco46aLr7UO/iTQKkGRCA2qMYu6wkRZMpVNbRhFhSDw//SJFK0aACqRtn/YKRIDxXNDWuztZ3KI2Vu6BJaUA9TbXJ505prP3jYaGZmVTf96Rk1G+po+Tle8X2iCBZqmOrKH2EpR6i2ebFiTDZ+O6YoBpGIK6Q6dPDXZeDs3YWHobIsy
+ayXHYRu6CLQYqGZ9cqtrWPrjTGGhwEIX+N/6PyXyJ/lSergWNQk0b8/rXF32wPVY/AM6FSXgIgbTbL4VICyzrdU9bMYIlFyBZV6eAj6fd/9HRIR1z71RVvLbTYwKvaBH+DP0CRF7EsX+eEMlA==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 00:31:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gLDOld9fNE5JpLOL+jRaeKCZGtrLK0u+s8Ad48hSlFdedOLHJRlu0KI46HiiN0zeoGI3kq8f47myyfi5PJsxoceC9U5op/5zPSrUyDaLaqUzYcJLvy6J9+tx96mM6/v5LVERUTBNpHnjHfvK3Vt9Lf5zREk5+0qxOa1Fe5BApX5an1AF40YnBL7C2b6k5UkHYJNLCg5xE4Fyas9eZvxQv2r0+iTQF
   +VNReVwSOoiz5FFftVoKog3HEW7f+1dTq+Zat+5GexrVpKR//17kUWr6Pg6goTrN5qKbINlxIX6USbGNlvn7N0NQjTi4Q7nGr+eIOESLqUEznOC9bqa44HWDw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-00-31-31-GMT.mhtml

   Hash (SHA256)
   1e09c9e0ad0b9966fa9489cbbf3aca29ebfc354c6b33e79d34d0927ac10942c2

   Signature (PKCS#1v1.5)
W8K3SMBMjIlPGPW8B8M3bVm47d/e0lTymtoIQV4vqQeLEU6wavFmpSI7QL7KjUUL/1WEwApibd160TnFpDtHCSAUC7ORtUnFyb9oxF11sFZ6MG3Tdgiuk08pdbMTQxyVnjiCpCOPsez+9qdMfksUOqMEiGcEyxzT5c1xT
+4+5LaK893dvOKcLCdnMCZAGk6Lw6JYD5tKxHs2UyaWBgN47Qcqm56TE7BvV+bCQMjhM7wvudHit2etXnxBfnymknc6wcWAQLf82yDYg5TqWxV2NeVE3RQ8oaucfsoQvCKfLFbRKyZSNvh3L/fJ0nFsyWqj1fmS9vSgsYh9u35NqigS/Q==
                                                                                  Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                                                Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Funermei Cute Wallet for Teen Girls Women Smiley Face Leather Bifold Wallet Aesthetic Funny Pink Smile Credit Card Holder RFID Id Cash Slim Small Bi-fold Wallets with Coin Pocket for Little Girl : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0BPH2FB7B

   Collection Date
   Tue, 06 Jun 2023 07:28:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OJxCAr1P4znfM1lcN6mgqevjIjQBUoJ/pT+WRlWnBU662OkAdEJiTMf7CojEuqrrV6/43VKmMYkpNrkpZpUBTwFx4JqAHRJBKqJe11YYGGBrcmv797i4xpx9yXR6i1Hg11g/yk9dcMMLZohSMYyOttyRuMC5bMhdy0NWvFNh3EyawmBKMJtVnZrVPLaQEv9OJOnyjjOcx/
   Hf5XxEmdn1WyIwEUcYnXqKL3R08VVJePTagURBVdlWJrK07LRcafhvtD2ZsLTYRLSCM7jrEnZlQsZ4XcZUUlUKc+MandGJ0Pho3Uo4BcHfsZFZbSwHV5TCGYBosmyoL6K0imaRL/DTwA==




                                                                                                           File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BPH2FB7B]]_Tue,-06-Jun-2023-07-28-03-GMT.mhtml

   Hash (SHA256)
   fb3152743fd8d632171c0bf70e686e1b46d38544a7a74ad5e079d603bad4be46

   Signature (PKCS#1v1.5)
DvqO8BB5ZItSbdAj6IY7IMDROJnNMRf929YCDzx5qa5Bj6KUdzpGsTXujn3rSC9+Eu2Wnx9MmVy1yRE3MltggK0wsZBUc7VyNTbifFBJzbd2SPTarkdUJl0Ro7+mHEGTce10W5CJFEQUXcezYom3fnFAdqE5FiJPe2Ozy4s76G69tzKS7JjuyAbmfUreE/
VTTAUfKYvVXH3hD9Tk8wfvKh4LEI6EqmwCKzwUC1CXfOsgf5gleni5Kv9DXp2NgozORJEqy7W/A89Mmz8xtCe29q9/2tCjoBwhaYCQVmUjBdDxosa2NMkzHdzhbIsrwtD5b+Yrgjs8mi6RIgMF/6UtQw==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: FUYIHGL Smiley Face Makeup Bag Corduroy Smiley Face Cosmetic Bag Smile Face Makeup Pouch Small Happy Face Make up Bag Cute Corduroy Smiley Travel Makeup Bag for Women Teens Girls(2Pcs, Off-white) : Beauty & Personal Care

   URL
   https://www.amazon.com/FUYIHGL-Smiley-Corduroy-Cosmetic-Off-white/dp/B0BNHCYMV4/ref=sr_1_74

   Collection Date
   Thu, 20 Apr 2023 11:31:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dgxjvTuxV7Vyq3HAtler28Pq8hlm8beqo/OmAI+HoQxak3mMgpvokoNBRvnsVGE5XP0HnX0+nIRpmSjVzZg1R/3G4JvVMBYR2nmxxkc+YeeySLokzWAt/CsxMMQ9+xOs4Xj4oiU329QySwmle9UnIcTVGTx/1Gp9wmqCZeyLaQ8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FUYIHGL-Smiley-Corduroy-Cosmetic-Off-white[fs]dp[fs]B0BNHCYMV4[fs]ref=sr_1_74]]_Thu,-20-Apr-2023-11-31-21-GMT.pdf

   Hash (SHA256)
   7f043296a7df4365a2f293f56a96a31ba6703578c347ee9494815d517dd8f5df

   Signature (PKCS#1v1.5)
HvaHY/CpigaY+8ifFHb5UD8GlVQzOtReg/YRwDOfinv/zjXn0VRf9GOQn2gENRC+1XLsYXScdk001J8mY6csjx6yLsHjNPKAz6jYDdHHeay3MDS2O7tuevWBtoaEjzUdWMk4QklVfcw5kSV7iSSUszRAoYeTJLwMVjW7dZccM7s=
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 15:16:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HZeahQpF16kGK0rhAzoF8CzZUeqdtKrZYOXyuclxOz11TulYoD+TkWUbGZeXlO3XN+NvH/hgk9IlT2l8WiSmrdhcJEHM67a3qiznwsjtX11YvOjoJmDChaZeqDfUFKcxI9GBNAuqZ11BxXe+SSZu4bK/mymdud5jP1BgqKQy0F1aueEXsaJTE
   +jXnHaeovAVclf3EcRwZ4sXyX0ipUcDyt70IMoPYZ98YZViPwdX7c6qismYtXb4ewJxfIuSABCVoxsE7Db704252mAWk4dXPcwkeLaCfy9dN36akaumcMOKPo/hsOtUEZw9tZ5sR256U/B4juzwPOrtcvwFoIQazw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-15-16-27-GMT.mhtml

   Hash (SHA256)
   07f1cdac08f9a2345f0d5d2684a4cfc5b3f32528f978eeefd3d472e5829d7083

   Signature (PKCS#1v1.5)
dV6/ehnV/gjD1XZe1xi4hUbBeMVpreXxfVewOZwEaQeI4HM0kG18LwZTeq3gYQE9oxZOYTBhnG2o/mKLt6b7xVu1LlrJDDYVpA3aMFQE59kc6A/d7QIeKA0ViO23WptanRjwKV5IXcSSdWBNPAvyqsE0WAS4AejLDJtzHhPSPJ5IuUuAtUzj6Et+zSkLDFwsVuJ1VDNLbqjD8U3cbftrs670Kcs/
bjXAWCIjOawLsw/blZFTde/0q9I0V3oEzioJQoS4t9knAEBKbrRl8nDNhxtVcu2AMQ0AYa8ca5M1XfU4zAmCbYiXiBpIcfPDpjbErprGYmaXGAvOTgUIPSONtA==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                             Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: FZIIVQU 720pcs Colored Acrylic Smiley Face Beads for Jewelry Making Kit with 60pcs Glowing Luminous Mixed Beads for Bracelet Necklace Earring Making Christmas Gift : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/FZIIVQU-Jewelry-Lnclude-Colored-Luminous/dp/B09N1SGQ74/ref=sr_1_37

   Collection Date
   Wed, 14 Jun 2023 10:56:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WCJ7rljnjcvilYOPi8byGkaMD3KalLdTPiaihobPX0+TIveyEOnhaRFGjeeb7oyNmNSKibXNpPqs1XzPj5NPW0Hrqnpw3Km/nlIBIBhCPA3mjK9M3FQOI/nWXfzOoyDMN3+vAe4F6rTWW8bVuKJR+bPQbL9RR9XDCeQrCqTuLSI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FZIIVQU-Jewelry-Lnclude-Colored-Luminous[fs]dp[fs]B09N1SGQ74[fs]ref=sr_1_37]]_Wed,-14-Jun-2023-10-56-59-GMT.pdf

   Hash (SHA256)
   d8e8b174238176cd5ed4c17aa5ec467b639ee9e0e837509f257f80ea3fbf2177

   Signature (PKCS#1v1.5)
C9gKI1znCZ30PAOJGS7tN9b7KqEgUk11y0jUNH0L3wfAIqzQmyNg0gwNRfwTyJc6Pc2sjHf9aNnt1abCXvxN6HAFYGyKTmlZBIDYjiGi4jXWg1XUnwqqTrKHlzyZURP27SQIAU+5G/uPQIqn8AntlU+fr6MToHMbCwd0k3sySlw=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 05:08:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eKWl6Ih98w0MTs2BJb+kz+FZlyACeIYze5V10LCsK/XYNLwjH67ip2lVN+x+pbENh3B2XbPeZyyjXBIq+kIU+E7Fbf6N5r12LbvYvxs1xzhNZQ4HbtpW/
   oxQh2NtagEfIBxhGEyAWBVz8UyxKlVJZPl25n1C3YDKwAJXY4TlLKYvfjPM9k9cdGM7IPjJSda3uK47+FFp5ldlGWLDG12uBKSXWs7EyvfPvOX9ELT2506Yz8/CbNQrBi2/j81LTqV0GxYYTRHngeXS6BMC7IPdClbp+wgSO2u7JzqI/
   cIsQg5gBbcbVOogmpwHENmoz0hiFpIrL9uNCjo6vh63Nb3jJw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-05-08-07-GMT.mhtml

   Hash (SHA256)
   262dbfaf64abc7df6e383c3147b749471029e45f500e9398bf4b51d1964acab3

   Signature (PKCS#1v1.5)
L7Klc0IDnBSxPEr0QfEVCbTLqIUgh8nCWtZSnI0Qb/FXmUmD4Q/FRHdDAu2dF0SehBn6GJpZt6NxSdg1Op8/08BReEO1LluFlHXSqvETI9nh2PLIB14OQVy6n+owGyuQEdi/
v16fBPUQlG6V7iQi6BKiAzSeQGAT7hX9ev0M4stTOuvrUqg5ub3nCHHm2NvoPTISHdWONWKiEFZgbNWTp9BBdnp72GoZEFnoj2nPo6tBMyBD2sZzqgOeAAIiWcK+pMK3lZAkV8nplnjCQC5OQ8ADUIe/HV1YJnzeEskqJ+6s8TuzmdiOUQx+wLik4L2xcKYgoD1umxCBJ/ofUG6f4w==
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 480 Pcs Fruit Flower Polymer Clay Beads, 24 Styles Trendy Cute Smiley Bead Charms for Bracelets Jewelry Necklace Earring Making with Elastic String

   URL
   https://www.amazon.com/Polymer-Bracelets-Jewelry-Necklace-Earring/dp/B09R1TNR9L/ref=sr_1_83

   Collection Date
   Wed, 14 Jun 2023 11:19:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CbRr/8LecHFoSwRxGvC7fvnkkOpiEg5/wbtte+JRtQRQ5a6cY5LJYOcygu6oNBxN+Jt1gkusITugUNg6oYRullZrgWGxbadO/yZo21SbXilJmjC9OctnPGSdx+KsRi9ILORWdYJUS6FuscUEh+KY5VbFegdUse2hpNcnulMfg7Q=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Polymer-Bracelets-Jewelry-Necklace-Earring[fs]dp[fs]B09R1TNR9L[fs]ref=sr_1_83]]_Wed,-14-Jun-2023-11-19-23-GMT.pdf

   Hash (SHA256)
   f991f18e380201d6885bba891cdf0e7aba4a649730d449d4d3f49cdf466d9e22

   Signature (PKCS#1v1.5)
ibHXNoiebeaumqprR0vry82a+YQ/d60Bpc+4wApfHDxJ1gZ51WEt+59ejcCEPXdBj3G675Mru29f2252NuH4ZwhpPLahui5tIuNE1uTJ46C3bS3pVM1G+rPpHTQlH+t2hS/ACfpRVDQ/pjabUVxNW+f96NVhX9RGQODJL1r8qRI=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 10:06:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qRe4UCHdcop2g6nw2TvA0chuPlRjhSBe9oPG4xOA+VpFSqAEoFUbUBAw/w/Hi8Yn4r6O941LOXuDvdmnvobnEqHQXyf6jVp/QS08+cGvPC6QwkCQBXd/wbZUCKKMJjFu/WYA/WHCqVmBGKYGyBHYhIFx90Xdq57CbMsCANFSZ
   +KbMZzPvn5nDieawAnKzCAeH0caVqp6OlbbqQSGDKwHrH0QEf4+00EXBCtoT1fVDShhzt7kjI0u4BYCJeZwdx8qOODdI7xEy0yzJfKYZdEEljJtVz3YTiDNec2XL5ZxLHHn8ZnvyDVD25YXuB12wAvbSI5eCMnHro6Hl40/pDAxuw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-10-06-37-GMT.mhtml

   Hash (SHA256)
   ff2b7ceb1a8e38c1fbb3c66d38658174641c2458b628ccd1840181e48c8e48bd

   Signature (PKCS#1v1.5)
NWtKCuiT9wfz9Q4tc+hzJM2pKdOqnkFIHcxI88KoRdm2Bu1N3vsYtcOmbk27CRu0R2yOVpBECOojMiqZ9kUWwggyd9Yhr9cu9fpohCdof4fOl0OtyJGIpQ5q80ELIb5RcJNXU5uSXSf80iMZrhxaV/m3NHeuGo7kT2FN4BxpFvgfMQajLVACq1pxL0tn04rcBVuCCD5YS0ia1IYbcjsUg0bcd
+fEQcWJKBBEZcCo5v2XWG/adfK5DOVFLIliPG29qgvlWOct8+Wc/B9rZwfXLPjtKqt3NyBP6cETridvNRGL7Htfg7BmahXJfZlDWNLL0sTEVRu7cVl6D4gE2to7+g==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Funny Smiley Smile Happy Gold Star Cartoon Children Patch Embroidery Patch Iron On Patches for Clothing Embroidered Ironing Stickers Decorate Repair Uniform Costume

   URL
   https://www.amazon.com/Children-Embroidery-Clothing-Embroidered-Stickers/dp/B0BVFZ8Q67/ref=sr_1_37

   Collection Date
   Wed, 26 Apr 2023 09:33:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hjEAqQ4iTmKKCX9+rMWToZdBSnPCsL775HHqYHWTf8KduFmuio3+waBmw1WwMkVIYC+PV5jMcria1Znhdle58WfiHhav+/S11/wzTp3vK20p1GfKPc8U4R0Ua7DflYGHhVX8i9tJ9ditGSW3sLUN8vTj1019jMhDLo71Z/fhI30=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Children-Embroidery-Clothing-Embroidered-Stickers[fs]dp[fs]B0BVFZ8Q67[fs]ref=sr_1_37]]_Wed,-26-Apr-2023-09-33-10-GMT.pdf

   Hash (SHA256)
   b8ddec742b4cd4951dda123ace263f4511acd326e366e27b8fb916c2414e5293

   Signature (PKCS#1v1.5)
HRhd636L+wd/skBV1NBEkB3QDd9W490zmW5D3zHd6KB6cskr4Hb0oir1nIH4VL3WQ2ZMJZwcZFU3skbpAc/L52pHIkzd5grEcAvzCBwMMTb+xtqg4pqg/l495ia2yvgj+wJTcKnG/ummyBJtBuT7TdGY332goiU9WwXKNC07aG0=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 05 Jun 2023 09:09:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.138.143

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WBmKE4DFNVxIeGUXcmhIV9tboKJQvY0v93KPPPeYezvTA9QxpL/PblaMaEU45ssozstq3Fye3amPcMfWFavolvYV/wLoYYAy38HyAYbstzm/dnpa3nbn0NID37YthQ0rZDdZq8E9fYIZ2jZc0taOGC4Bt8YaeVvjBtEu6c8/fwCluR+QuUxpsUvWBDuBJJk0Gl/T/CQ4UP/
   qDohe1B5ortRi7wflebexLot3H65tXABoHcE5Zjl5NZ9QhPL6wFGrEt9y34Ih/1CMSJcpJZ4V23zMMutMdO4a6J7EenqGDd50aGsQwWAW8LINdqGQTMNQasjUD57ga/u9rp8wD8WgkA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-05-Jun-2023-09-09-52-GMT.mhtml

   Hash (SHA256)
   60d3bd893044d290b54577c54b70935451c5cc03c673cc5c659d791ad2a612cc

   Signature (PKCS#1v1.5)
mXj8hiVYbFix2xdL8r3UGvFgr7CKmOkNGFFPs+zNx9QXs4B1pHlDsx7wQuW1+9tDaEW+PLNi/W2DeOm8XtO/voaI2UrnxPbTlgzORFGRucsY2Gs8tAjsyKTmOyGNZkGERCcGwXzyLeRqrf6p+sqUBXbHLh705pmzUCnHmYjgXV544ujQ+rcsXXLDplHlfnP7JW1FKdvPHITwhq8B0icoaN1x/
lu9laTjesbZV7Bbd+fm8bxNPFgwV+PSAo8etKEyr1GMAgWlorvL/p9vK1tw6Usc53fNPKv4lTDzouvzFsHxhZrzZIm6I6g4EV7np3y9E4P0fWmalWB1KS1vm0tZ+A==
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Cool Face Silly Funky Socks for Men Women Teen Kids Cute Fun Funny Emoji Smiley Graphic Cotton Crew Socks Gifts : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Silly-Funky-Smiley-Graphic-Cotton/dp/B0BL3V1KQB/ref=sr_1_52_sspa

   Collection Date
   Fri, 21 Apr 2023 08:04:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mboNA3B58nmPS4E13qIl/Yi3OMeQrv6xxlYTVgtxTmPr4W+vKrtINWdNEOztGjBCXGBVw2DkhEKAfH8Y6qKTAP/dgKUf3wwS+KxuFprEaJKp8sYDEqTwxezxULa89hSArd/kgHK4O01jppxh/hmqmds19G3O7k7QUX4tbNmRZX4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Silly-Funky-Smiley-Graphic-Cotton[fs]dp[fs]B0BL3V1KQB[fs]ref=sr_1_52_sspa]]_Fri,-21-Apr-2023-08-04-13-GMT.pdf

   Hash (SHA256)
   fd3b056f0b9730b1e2d1839fb2d92b96aa8a8a32bfbbc9e59a9902955de8fee0

   Signature (PKCS#1v1.5)
hcuY8nU9UKTYgeQe66FXmKbZT4yhtTS9JEN2j6Z3NwomzSSodhOFyOBUMs+2hDMQRVzsVUV00niJUF1dPwtJV8kFj2F8GCC7MwHMcFfc5L3DsSdY/8F1sIYZpcQ39NGEMl3zL8M7nnPhpxVpp+IUHPJleLjWFO//C7KI3yQcIps=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 11:46:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j2jfgJ0ecs31ZWPys2jx5xWIg2bAL87EH0+fxIrcH8fv3CzEent86pP8+8zGxaqMhkSA+YYakv3EuaJKtzs60XgaHR0p2rscvXDgdPagVKJ9ntd42FBg2V+0IDDsJAhRfLEl+INFCidZil3YKryDrESGq4kwha5r2auESkT8j5862s6g9ZCAvAbpRStYNYF3ucnRY97OzZjC6/DgLjgcZmuh
   +vMcT5WNdPHDLKEdxHjcq/L93TWGGaCgT8CBNkvT6z4p2dl2kytVBUVxkDnz2A07UT7JFdOgMQnPlJZ2igpoEom4kOkUTrZlX5L4bveY326O7ZqMBZ1yX+PInYIi8w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-11-46-43-GMT.mhtml

   Hash (SHA256)
   c3e96f5b1ebcd5bb5db730d3f36330394f8797ce3e8969ace48e0a2fc98ea6df

   Signature (PKCS#1v1.5)
go2tB0eu1PL1EoAIigmZq0J/geCJ16vNshvc7Y/AJfOETf5gpe8d4MEYQnRRJckq21rMzQ/pagpTHs/ktid4GxFMdy3bHMPMg7+kviNDGSS0/gVrRB04kMOGLpbNYlRnpykj1rdtVOprtI/3i4HB6xutjaRnv3K02L14cLPEOeJpEcZ53FxO/QYLnxJpe6uk3ewI5M8AQW/
JZvheCBFpr4dX65YqiqsdWvawlSWYw04wIaABS0FDR9hrGcilfE2W8iUa+U+IqqOIw96s5EkLsqsM5r7/I/eKgh5hClTHH2OGypeLWJkH0uG8fwvyDs2ww62q4U+c2CVBoR0ggjE3Lw==
                                                                                 Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Stainless Steel Gold Color Smiley Tassel Pendant Necklace for Women Choker Trendy Gift Fashion Party Gift Jewelry : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Stainless-Pendant-Necklace-Fashion-Jewelry/dp/B0C2L84PD3/ref=sr_1_10

   Collection Date
   Thu, 20 Apr 2023 06:07:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nk6AcBYZsJmr2XO5Uqw6qFl00RVPrlRMkACU5h7/kViM1j6M3gz5oG3wjBzqf3vihVYhIa1xOaG5z00CrJIzlmce1yJaxDauSuWuQtzP0sYvwk8wn4rBMj4GO9Rp8vMF8L7i9I570XiSNmQvEk+1D1zhQ1jMVXWcORAcnpQowI8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stainless-Pendant-Necklace-Fashion-Jewelry[fs]dp[fs]B0C2L84PD3[fs]ref=sr_1_10]]_Thu,-20-Apr-2023-06-07-10-GMT.pdf

   Hash (SHA256)
   4b043e1b91e985a625779f6f68f6f1b6f0cdef4538a47cffc36bf7584a11d009

   Signature (PKCS#1v1.5)
YH02i9Jg5UJs0JQX5PHAa0GXvo/ufqF8Jz8SEHFuNzbem9maqRPbe6y/qUe5e/xcsvKPZ50eqqRr58X1myRQkN1tqMJIrqJJSQvHVWjRNuGDXig006OTUVSUxtWg+vTtHFBSRxe2rqs79griEsuY82MmY0FcuiTPigfZMmP3AJg=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 08:16:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CQPheMLfGAwcWMaIcfoKGp5qaHrDNEG4YfrQ5RElwd9yOkWJX2aPpG0gP5Wl4vna3mERrLi46fmmdhrSNziT6Vj5fhDmSeQmAFWr2mRBjNiGzMdQ2FF4BDqpBnz29kgggGs5iXJBYSYAYSseg1HXxyx4oDj5MEwruWl2FRXVSeUgd4E13dRXRxdFbS4i9YMwD6SGVypy3es4h1ExiyVShAVT
   qTRkKuQ6hzJezgwgv1R1QvdNt4SKPvMwFyuXB00EH2JDP6KV4wSlf+arq2Nx2oriD1ETHZbqY7lN7HqX//+wmcelo4fgaHE4X70ZcjEsV/aMCjB2x8UHTNk+ekQW+g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-08-16-19-GMT.mhtml

   Hash (SHA256)
   d835a208d1061351e288bed68cfbb1dd79f61d69e1f5cc4f6fa647ecb91fd1a7

   Signature (PKCS#1v1.5)
b86c3tCJ9riT47xD5C/V3/S9VcjYG+gyzTxKodZDZ+AwkRbswVjQZwFdMZsY9d4cZjjDY+OEaS+G+wxdcj4kDPkL6beu43r/FyhBazV3G/zCw5Jptd8prc1jm7k3CEG27qkMj9Ao0PD7qI5PQaC/XKhu8XQaZPB5bYrg+kVOqGSPpRM9XB1AYOfXdC1JWHyeqNf5GOqGZmJ/
PtbrXjp0D1k2Ep3xAisZpxoHN3fjSaOiGQMK8iB4CS+OqGRfoDkTGsVQNcOCL3Ub5iKpA+Ek2FdDNoa0nx4J3WYsDLBxmFJFqrt9R4yTk3c3fKjnkV9V1t0inWyYV4h0YUcN4h333Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Beads 100Pcs Spaced Beads for Bracelet Necklace Charm Jewelry Make : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Smiley-100Pcs-Bracelet-Necklace-Jewelry/dp/B0C2K8GBVN/ref=sr_1_106

   Collection Date
   Wed, 14 Jun 2023 11:38:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ifRWb2f87KjzJpYu1JcLaeTbY+fGUg+t8cq/pjKcPngFzjTb8zZZsS8koD0misvxQU4z+2MUic1xB3XuG+guFt57QAIWJbbne5oLfAb6Wkqhb0CHitkn6OJTf2b20t6jWco3S8gZ183FWjm85eeaQ9Az6JXkHUGhHnfJK9Wq4Ks=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-100Pcs-Bracelet-Necklace-Jewelry[fs]dp[fs]B0C2K8GBVN[fs]ref=sr_1_106]]_Wed,-14-Jun-2023-11-38-36-GMT.pdf

   Hash (SHA256)
   ad982420457fc811eb260db1e801d35243e3544fce3b4c6e1a20c8f1a70a2701

   Signature (PKCS#1v1.5)
SKRArp12i+aVU5MbouFktREzs/54aw7VHKhCUdYv6VPvJsf9lh/s6dtMRJt4tYRRQf9ESjP9QHRcCZGXCkiG1V3ZfrhJrwQdK4U2HN/oaQXxj9ZZ0MMGCUpUgRKq/jVGWKXMPtK7+zOBC+rCwoaahkzK+QZWjGAeMB6gG3cCqpg=
                                                                                Case 0:23-cv-61203-AHS Document 35-7 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                         Investigator Name: Neha P




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   Collection Date
   Thu, 15 Jun 2023 11:12:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lMQkFWB2QVOkBOYvUJK8pzoa3K1HXJtr/0GmGgvxjEtNIrHpZEvA7lvtvA5t1RruMIPCR5U0ryxiQ50D3U+Lh06IsC96u6csKXbDGB3OWhKYlGYf4h+7qQWry48TOfYyNoaGJkk8N5ZlPYGPZypThUi5yeX6MUtAd+rRNImTybC3ua6CY2IRtKaXuWQZtpDESEw
   +R35G0MYp5hnuXL6H74jbew6Y4ooFzd1eL5IwKBw+POCXcmLxgJX7ui6b2lQ4wnqyXCy+RuiofTGHsQURdlasKtJBClDvcQPDB46xm5wmQmnwdSG+c3lv8v4UtfW0Q6VFwSZlWXuC8e4w4xSPaA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-12-34-GMT.mhtml

   Hash (SHA256)
   99cd1c413fa700b18410920fb4e98e68844aa82c1d9bad3c2da146b15dad0c5f

   Signature (PKCS#1v1.5)
fomP5bK6rfTnvsgq1NmdIAmjFKcCYOeS56beFCgXqm
+47asi1P9wAKugNa6tDD6RmuNTxW4DHbXjK6py5rkUsITiWuOubxCGUhzmCaXkLH6EMJOkOEGhWiHtXnNN0dYUGwqwbaiAPMy69vlwXOFb7mFWZxLQAEd8+OJRZDlRTZn3TJIAowcofxWLkTovnb59UygQSkYFGx1oxZ6Qj9UnGpNgnqDVmFB/
NoMff96gYYYj7EC67TG986Ym5pwzkMGhBMf7sfvQPrzM4m+rUbz6qscwz299kUXAgbaS3DNgqutLWNdhUPzwFWYvIugjMoAqE9rJpckyG/uoqJ6AjpR34g==
